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                                                                                     2018 Apr-27 PM 12:45
                                                                                     U.S. DISTRICT COURT
                                                                                         N.D. OF ALABAMA


             IN THE UNITED STATES DISTRICT COURT FOR THE
           NORTHERN DISTRICT OF ALABAMA, SOUTHERN DIVISION

JAMES E. BARBER, JR.,                           )
                                                )
                     Plaintiff,                 )
                                                )
                     v.                         )     Case No. 15 C 0997
                                                )
JEFFERSON DUNN, et al.,                         )
                                                )
                     Defendants.                )

                          PARTIES’ JOINT STATUS REPORT

      Plaintiff James E. Barber, by his attorneys, Loevy & Loevy, Defendant

Jefferson Dunn, by his attorneys, Legal Division of the Alabama Department of

Corrections, and Defendants Hugh Hood and Roy Roddam, by their attorneys,

Starnes Davis Florie, LLP, hereby respectfully submit the following joint status

report:

      1.       In its summary judgment opinion, the Court allowed Plaintiff to

proceed to trial on the following claims: (a) claims for injunctive relief against

Defendant Dunn, in his official capacity, and Defendants Hood and Roddam for

denying him constitutionally adequate medical care and failing to intervene to

prevent the ongoing denial of constitutionally adequate medical care; and (b) claims

for damages against Defendants Hood and Roddam for denying him constitutionally

adequate medical care and failing to intervene to prevent the denial of

constitutionally adequate medical care. See, e.g., Dkt. 82 at 34.

      2.       The Court also asked the parties to discuss whether they believed

mediation would be beneficial. Id.
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      3.       Plaintiff believes that mediation would be beneficial and is willing to

engage in an alternative dispute resolution process.

      4.       Defendant Dunn does not believe that mediation would be beneficial.

      5.       Defendants Hood and Roddam do not believe that formal mediation

would be beneficial, but are willing to enter into informal discussions with Plaintiff

regarding settlement of Plaintiff’s claims for damages.



                                                Respectfully submitted,

                                                /s/ Sarah Grady
                                                Sarah Grady
                                                Attorney for Plaintiff


                                                /s/ Henry Sherrod
                                                Henry F. Sherrod, III
                                                Attorney for Plaintiff

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                                       /s/ Gary Willford, Jr.
                                       Gary Willford, Jr.
                                       Attorney for Defendant Dunn


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                                       /s/ Phil Piggott
                                       Phil Piggott
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                         CERTIFICATE OF SERVICE

       I, Sarah Grady, an attorney, certify that on April 27, 2018, I caused the
foregoing Parties’ Joint Status Report to be filed using the Court’s CM/ECF system,
which effected service on all counsel of record.


                                             /s/ Sarah Grady
                                             Sarah Grady
                                             Attorney for Plaintiff




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